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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:
                                                          MASTER DOCKET
 CUSTOMS AND TAX ADMINISTRATION OF
 THE KINGDOM OF DENMARK                                   Case No. 1:18-MD-02865-LAK
 (SKATTEFORVALTNINGEN) TAX REFUND
 SCHEME LITIGATION

 This document relates to 1:18-CV-05053-LAK.


 THE GOLDSTEIN LAW GROUP PC 401(K) PROFIT SHARING PLAN’S, SHELDON
               GOLDSTEIN’S, AND SCOTT GOLDSTEIN’S
                REPLY IN FURTHER SUPPORT OF THEIR
             MOTION TO DISMISS AMENDED COMPLAINT

          Instead of grappling with this Motion’s new arguments explaining why the Amended

Complaint’s new allegations, including those against Scott Goldstein—a brand-new party—fail to

state Plaintiff Skatteforvaltninge’s (“SKAT”) claims, SKAT largely rests on a brief it filed nearly

two years ago. Compare Opp. at 28 n. 38 and, e.g., Corrado v. New York Unified Court Sys., 163

F. Supp. 3d 1, 17–18 (E.D.N.Y. 2016), aff'd sub nom., 698 F. App'x 36 (2d Cir. 2017)

(“discretionary” law of the case doctrine is irrelevant where there are new parties). Consolidating

184 cases into this MDL does not excuse SKAT’s failure to plead every element of all six of its

claims against each Goldstein Party. This Court should dismiss SKAT’s Amended Complaint.




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   I.      The Negligent Misrepresentation Claim Fails Because the Goldstein Parties Owe
           No “Special Duty,” Fiduciary or Otherwise, to SKAT

        Even if the existence of a special relationship may “generally raise[] an issue of fact,” here,

SKAT fails to plead the allegations necessary to even reach that question. See Opp. at 33 (quoting

Kimmell, 89 N.Y.2d at 264). Only “exceptional situation[s]” “justify depart[ing] from the usual

judicial disfavor for finding a special relationship between two parties.” Moslem v. Parietti &

McGuire Ins. Agency, No. 07 Civ. 7962, 2011 WL 721653, at *4 (S.D.N.Y. Feb. 24, 2011)

(Schiendlin, J.). SKAT fails to identify any authority that the Goldstein Plan’s eight

Applications—the only pleaded contacts between SKAT and the Plan, and eight out of thousands

of applications giving rise to SKAT’s claims—create even the inference of a “special relationship

of trust and confidence,” such as a fiduciary relationship, necessary to state a negligent

misrepresentation claim. Compare Opp. at 33 (citing Kimmell v. Schaefer, 89 N.Y.2d 257, 264

(1996); LBBW Luxemburg S.A. v. Wells Fargo Securities LLC, 10 F. Supp. 3d 504, 526

(S.D.N.Y. 2014) (Oetken, J.)) and MTD at 29–32; compare also Opp. at 33 (arguing that these

interactions were not “business transactions” without explaining why that characterization matters)

and, e.g., Kimmell, 89 N.Y.2d at 261 (analyzing a negligent misrepresentation claim “[i]n the

commercial context”).

        In Kimmell, the Court of Appeals held that the plaintiffs, investors in an infrastructure

project spearheaded by a developer, pleaded a “special relationship” where they alleged that the

defendant was the developer’s chairman of the board, chief financial officer, and primary investor

contact for that project. The defendant personally solicited the investors, including plaintiffs, and

did so with countless representations in dozens of meetings, phone calls, and other

communications, over the course of several years. Id. at 262–64. The Court of Appeals also noted

that the “defendant was experienced with the sale of [that developer’s] projects to investors”



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through the relevant investment vehicles, that the “[p]laintiffs, who knew of [the] defendant’s

involvement with Cogeneration Projects, justifiably assumed that [the] defendant possessed

expertise in this area and relied on his apparently unique knowledge of [the developer] and its

operations,” and that the complaint pleaded many facts showing that the defendant knew he was

making false statements to plaintiffs. Id. at 264–65.

       Similarly, in LBBW, Judge Oetken found a “special relationship” where a plaintiff alleged

that the “defendants held expertise in U.S. mortgage-backed securities that rose above and beyond

Plaintiff’s own expertise as a sophisticated financial actor” and that one of the defendants,

Wachovia, had “special access to data regarding the value of the underlying mortgages” “because

of its various roles in the [collateral debt obligation] transaction.” 10 F. Supp. 3d at 526.

       But unlike in Kimmell or LBBW, SKAT does not plead that any of the Goldstein Parties

conveyed their own “unique or special expertise” in a particular type of business or transaction,

and SKAT does not and could not claim that the Goldstein Parties understood the Danish reclaim

process better than SKAT. As the governmental body that processed the applications and issued

the refunds, SKAT should have understood the process better than anyone else.

       And despite SKAT’s argument to the contrary, neither “superior knowledge of alleged

wrongdoing” nor that of one’s own corporate structure or transactions is the “type of unique or

specialized expertise” necessary to state a “special relationship.” Compare Opp. at 34 and MTD at

31–32 (citing RKA Film, 171 A.D.3d at 680; Greentech, 104 A.D.3d 540–41; MBIA Ins. Co., 914

N.Y.2d at 611).

       Because SKAT alleges no “identifiable source of a special duty of care” that could have

established the Plan’s “exceptional duty regarding commercial speech and justifiable reliance,”

the Court should dismiss its negligent misrepresentation claim. See Kimmell, 89 N.Y.2d at 261.




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   II.      SKAT Cannot Dress Up Alleged Internal Revenue Code Violations as Common-
            Law Torts

         To support its fraud and negligent misrepresentation claims, SKAT originally alleged that

the Goldstein Plan made three types of false statements to SKAT: that the Goldstein Plan (1) “was

a qualified U.S. pension plan entitled to a full refund under the Treaty,” (2) owned the shares it

represented to own, and (3) “suffered” withheld taxes. See Am. Compl. ¶¶ 40–41; accord Opp. at

31. SKAT’s Amended Complaint adds that the Plan’s “representation that it was a qualified

pension plan was also false because [ . . . ] external funding would violate the funding requirements

of the [IRC].” Id. ¶ 44. SKAT also now alleges that the Plan “falsely represented to SKAT that it

was entitled to a full refund under the Treaty to the extent that it engaged in any activities that were

debt-financed, in breach of the Treaty’s prohibition on the carrying on of leveraged investment

activities by a pension fund.” Id. ¶ 45. SKAT ignores the fact that the IRC does not strip pension

plans of their tax-exempt status if they engage in debt-financed transactions: it just taxes those

transactions. Compare Opp. at 31 and MTD at 17 (citing 26 U.S.C. § 514).

         After the Goldstein Parties’ Motion highlighted that IRC violations can never plead any

element of SKAT’s claims, see generally MTD at 17–20, SKAT now argues that it “is not asserting

[ . . . ] that the Goldsteins owed SKAT any duty under the [IRC],” but rather that the Plan “falsely

represented” that it “met the requirements under the [Treaty] to be entitled to a refund.” Opp. at

31. While SKAT identified exactly which IRC provisions the Plan allegedly violated, SKAT has

never identified—in the Amended Complaint or even in its Opposition—exactly which Treaty

provision establishes that prohibition, let alone that the Goldstein Parties knew of the prohibition

at the time they submitted their Applications to SKAT. See generally Am. Compl.; Opp.

         Without such basic notice, it appears that SKAT does, indeed, want to continue advancing

the “frivolous” argument that the Plan’s alleged IRC violations prove that the Plan made



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misstatements to SKAT. See Burns v. Delaware Charter Guarantee & Trust Co., 805 F. Supp. 2d

12, 20 (S.D.N.Y. 2011) (Sweet, J.) (holding, inter alia, that IRC Section 408 does not give rise to

actionable duties) (citing Sirna, 1997 WL 53194, at *2). The Court should reject this theory of

SKAT’s case. See, e.g., Lewis v. Delaware Charter Guarantee & Trust Co., No. 14-CV-1779

(KAM), 2015 WL 1476403, at *10–11 & n.10 (E.D.N.Y. Mar. 31, 2015) (Matsumoto, J.)

(dismissing, inter alia, breach-of-contract claims where only non-conclusory allegation was that

defendant breached IRC Section 408); Suozzo v. Bergreen, No. 00 Civ. 9649 (JGK), 2003 WL

256788, at *2 (S.D.N.Y. Feb. 5, 2003) (Koetl, J.) (rejecting “plaintiff’s attempt to recast his

[Section 401] claim as a breach of fiduciary duty” and ERISA claim); Reynolds, 2010 WL 743510,

at *7 (dismissing Federal Insurance Contributions Act claims where plaintiff alleged that

defendants violated the IRC by failing to withhold and remit payroll taxes); Sirna v. Prudential

Sec. Inc., 95 Civ. 8422, 95 Civ. 9061, 96 Civ. 4534, 1997 WL 53194, at *3 (S.D.N.Y. Feb. 10,

1997) (Kaplan, J.) (“[T]here is no basis whatsoever for concluding that there is a private right of

action under the [IRC]”).

   III.      The Amended Complaint Fails to Sufficiently Allege Scienter

          SKAT also fails to identify any non-conclusory allegation that the Goldstein Parties knew

or should have known that any of these allegedly-fraudulent statements were false, again resting

the First Order. Compare Opp. at 29 and MTD at 21 (citations omitted).

          In the First Order, this Court found that “the complaints clearly allege motive by stating,

for example, that the Bradley Plan claimed refunds in the amount of $11 million dollars or more,

and received payments from SKAT on those claims.” First Op. at 37; but see Novak, 216 F.3d at

307 (cannot allege scienter by pleading “motive possessed by virtually all” similarly-situated

defendants). The Court also found “strong circumstantial evidence of conscious recklessness”




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sufficient to plead scienter because the Bradley Plan “claimed to own hundreds of millions of

dollars of shares in Danish corporations within the first year of the existence,” did not file a Form

5500-EZ the year that it submitted those refund claims, and because “it strain[ed] credulity to claim

that defendants—one-participant plans and their agents—did not know whether the plans owned

shares that were worth hundreds of millions of dollars or whether they were entitled to refunds

from SKAT that were over 44 times greater than the total value of the plans’ assets.” First Op. at

37.

       But here, SKAT alleges that the Goldstein Plan was founded 15 years before it submitted

its first reclaim Application. See id. ¶ 104. SKAT does not claim that the Goldstein Plan failed to

file U.S. tax documents, or any documents at all. See generally id. SKAT does not claim that the

Goldstein Plan did not know what securities they owned or whether they were entitled to refunds.

See generally id. While SKAT alleged connections to Shah Entities in 154 of its initial 183 MDL

complaints, it has never claimed that the Goldstein Parties were connected to Shah, nor identified

any similarities between the Goldstein Parties and the Shah Scheme. See ATPC ¶ 197–209

(summarizing first 183 MDL complaints).

       And just two months before filing the Amended Complaint, SKAT filed amended

pleadings in England in which it admitted that it no longer believed the Goldstein Parties were part

of the “Shah Scheme” that falsely represented their ownership of shares, receipt of dividends, and

“suffering” of taxes. See Further Particulars (Feb. 28, 2020), Parks Decl. Exhibit 9 ¶¶ 3, 13–47,

46.5 (pleading that there is no overlap between the Shah Scheme defendants and ED&F Man

defendants); see also In re Refco Inc. Sec. Litig., No. 07-MD-1902 (JSR), 2010 WL 11500542, at

*4 (S.D.N.Y. Oct. 22, 2010), report and recommendation adopted as modified sub nom., No. 07

MDL 1902 JSR, 2011 WL 6097724 (S.D.N.Y. Dec. 7, 2011) (“Review of a motion to dismiss is




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of course not limited to the four corners of the complaint” and may consider, inter alia, “documents

plaintiffs had either in its possession or had knowledge of and upon which they relied in bringing

suit”).

          The Amended Complaint fails to plead facts suggesting that scienter was an inference “at

least as compelling” as any innocent explanation for the Goldstein Parties’ allegedly-false

statements. See Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 304, 324 (2007) (“[A]n

inference of scienter must be more than merely plausible or reasonable—it must be cogent and at

least as compelling as any opposing inference of nonfraudulent intent.”). The Court should dismiss

SKAT’s fraud claims against the Goldstein Parties.

    IV.      Denmark, Itself, Admits that SKAT Did Not Reasonably Rely on the Applications

          SKAT does not dispute that it failed to plead any “facts showing that it fulfilled its own

duties to verify the Goldstein Applications’ ‘true nature and real quality.’” Compare Opp. at 34

and MTD at 26–27 (citations omitted). SKAT also does not dispute the authenticity of the 2010

and 2016 Audit Reports annexed to the Goldstein Parties’ Motion and discussed at length, nor does

SKAT dispute that it received and had actual notice of the 2010 Audit Report before it processed

the Goldstein Applications. See generally Opp.; see also Garber v. Legg Mason, Inc., 347 F. App’x

665, 669 (2d Cir. 2009) (motion to dismiss may consider documents subject to judicial notice to

show that information was “publicly available,” but not for the truth of the matter asserted).

          Consequently, SKAT does not dispute that as early as 2010, SKAT’s predecessor agency

“placed [it] on guard” that its tax refund processes and procedures were woefully inadequate:

          • SKAT lacked the reporting and information necessary to correctly calculate net
            proceeds from dividend tax withholding;
          • It was possible for dividend tax to be “refunded” before the tax was ever paid
            or reported to SKAT;
          • SKAT was unable to determine “whether dividend tax is requested more than
            once per share;”



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        • “[T]here [were] no checks [ . . . ] as to whether the investor is actually a
          shareholder” or liable for tax; and
        • “[I]t does not appear that the previous investigations initiated by SKAT have
          been followed up on.”

        Since then, Denmark’s National Audit Office has investigated the very same scandal that

caused SKAT to file this MDL’s lawsuits and concluded that “SKAT’s administration and the

Ministry of Taxation’s supervision of the refunds of dividend tax have been very unacceptable

[and] extremely inadequate. [ . . . ] [V]ery simple analyses of the development in the refunds of

dividend tax would have called attention to problems in the area that should have resulted in a

closer look at the area.” 2016 Audit, Parks Decl. Exhibit 4 at 2–4; cf. Long Island Savings Bank,

FSB v. U.S., 63 Fed. Cl. 157, 164–65 (Fed. Cl. 2004) (deponents employed by various federal

agencies are “party–opponents” where party is the United States).

        SKAT cannot “argue with straight faces” that it was unaware of its own failures that caused

it to pay out the Goldstein refunds. See L. Capital Partners, L.P. v. Rockefeller Center Properties,

Inc., 921 F. Supp. 1174, 1184 (S.D.N.Y. 1996) (Kaplan, J.). The Court should dismiss all of its

claims against the Goldstein Parties.

   V.      SKAT Does Not State Claims Against Sheldon or Scott Goldstein

        SKAT does not dispute that its failed to allege any wrongful acts personally committed by

Sheldon or Scott Goldstein, and instead argues that the alter ego theory justifies its claims against

both men. See Opp. at 29. But the alter ego theory, designed to pierce the corporate veil, only

applies to “a corporation used by an individual in conducting personal business”—and a pension

plan like the Goldstein Plan is a statutorily-defined benefit, not a corporation. Compare 29 U.S.C.

§ 1002(2) (“Pension Plan” means “any plan, fund, or program [ . . . ]”) and, e.g., William Wrigley

Jr. Co. v. Waters, 890 F.2d 594, 600 (2d Cir. 1989) (“[A]lter ego liability is an exception to the

general principal that individual owners, officers, and shareholders of a corporation are not



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personally liable for corporate act.”) (emphasis added). To hold otherwise would make no sense,

particularly in the pension plan context: individuals’ retirement accounts like the Goldstein Plan

should be controlled by their investor–beneficiaries, such as Sheldon and Scott. There is nothing

improper about that.

       Even if alter ego could apply to a pension plan, SKAT still cannot state claims against

either Sheldon or Scott unless it alleges that each man committed a “fraud or inequity” in his very

“use of the corporate form”—the underlying cause of action, “at least by itself, does not supply

the necessary fraud or injustice.” Soroof Trading Dev. Co. v. GE Microgen, Inc., 283 F.R.D. 142,

151–52 (S.D.N.Y. 2012) (citations omitted) (applying Delaware law and noting that S.D.N.Y.

courts “have observed that the law of Delaware on this subject is substantially similar to the law

of New York.”); see also, e.g., Mobil Oil Corp. v. Linear Films, Inc., 718 F. Supp. 260, 268 (D.

Del. 1989) (“Any breach of contract and any tort [ . . . ] is, in some sense, an injustice. Obviously

this type of ‘injustice’ is not what is contemplated by” the alter ego doctrine).

       For example, in the First Opinion, the Court held that SKAT pleaded claims against Gavin

Crescenzo by alleging that “[he] ‘participated in incorporating limited liability companies

associated with fifteen different claimants that were created shortly before the claimants submitted

their initial tax refund claims to SKAT,” “had a hand in dissolving those entities, all on the same

date,” and [that] all five shared Crescenzo’s home address.” See First Opinion at 34–35.

       Here, however, SKAT has not alleged that Sheldon or Scott ever personally committed

wrongful acts to benefit from the Plan’s alleged misconduct, such as by draining the Plan’s

accounts or otherwise disrespecting the Plan’s separate status. See generally Am. Compl., Opp.

SKAT does allege, however, that—unlike the vast majority of this MDL’s other defendants—the

Plan existed for fifteen years before it submitted any Application to SKAT. And while the




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Goldstein Plan and Scott currently share an address, at the time of the Applications, they did not:

the Plan was located in Manhattan and Scott was in Putnam County, New York.

       SKAT fails to plead any non-conclusory, factual allegations suggesting that Sheldon or

Scott misused the Plan in order to perpetrate a fraud. See generally Am. Compl. The Plan simply

is not a “sham” that “exist[s] for no other purpose than as a vehicle for [Sheldon’s and / or Scott’s]

fraud.” See In re Alper Holdings USA, No. 07-12148BRL, 2008 WL 541154, at *5 (Bankr

S.D.N.Y. Feb. 25, 2008), aff’d sub nom. 398 B.R. 736 (S.D.N.Y. 2008).

                                          CONCLUSION

       Five years after it began investigating the Shah Scheme, and two years into this case—after

extensive discovery in several jurisdictions—SKAT still fails to plead “every element of every

claim against every [Goldstein] defendant.” See Meimaris v. Royce, 18-CV-04363 (GBD) (BCM),

2019 WL 5722130, at *10 (S.D.N.Y. Aug. 20, 2019) (Moses, M.J.), report and recommendation

adopted, 2019 WL 4673572 (S.D.N.Y. Sept. 25, 2019) (Daniels, J.) (dismissing claims as time-

barred).

       Even if SKAT stated claims against the Plan, its failure to allege any wrongful conduct—

or any allegations that even allow for the reasonable inference of wrongful conduct, let alone an

“at least as compelling” inference necessary to plead scienter—warrants dismissing Sheldon and

Scott Goldstein from this case.

       Therefore, the Goldstein Parties respectfully request that this Court dismiss the Amended

Complaint pursuant to Rule 12(b)(6), with prejudice.




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Dated: New York, New York
       August 20, 2020

                                          GUSRAE KAPLAN NUSBAUM PLLC

                                          By: /s/ Martin H. Kaplan
                                          Martin H. Kaplan
                                          Kari Parks
                                          120 Wall Street
                                          New York, New York 10005
                                          Telephone: (212) 269-1400
                                          Fax: (212) 809-5449
                                          mkaplan@gusraekaplan.com
                                          kparks@gusraekaplan.com

                                          Counsel for Defendants The Goldstein Law
                                          Group PC 401(K) Profit Sharing Plan,
                                          Sheldon Goldstein, and Scott Goldstein




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